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                               APPEAL NO. 23-5062

                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


PETER K. NAVARRO,                                                  APPELLEE

                                          v.

UNITED STATES OF AMERICA,                                          APPELLANT.


                  APPEAL FROM THE UNITED STATES
           DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                         1:22-cv-2292 (CKK)

        UNOPPOSED MOTION FOR SECOND EXTENSION OF TIME
              TO FILE APPELLANT’S PRINCIPAL BRIEF


      Pursuant to Federal Rule of Appellate Procedure 26(b) and D.C. Circuit Rule

28(e), Appellant Peter K. Navarro, hereby moves for an extension of time within

which to file its principal brief. That brief is currently due August 7, 2023, after

the granting of an initial unopposed motion for extension to file. Dr. Navarro

respectfully requests that the deadline for filing the principal brief be extended

thirty (30) days, up to and include September 6, 2023. Counsel has conferred with

government counsel for Appellee and government counsel signified that they do

not oppose the requested extension.




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      This is Dr. Navarro’s second request for an extension. The extension is

necessary because there is a pending government motion in the trial court that

could affect the contents of the appeal brief.

      This motion is made in good faith and not for the purpose of delay.

Appellee does not oppose the requested extension. Appellant does not oppose a

concurrent extension of the Appellee’s deadline to file their brief. Accordingly, for

the reasons stated herein, Dr. Navarro respectfully requests that this motion be

granted and that the due date for filing his principal brief be extended to and

including September 6, 2023.

 Dated: July 28, 2023      Respectfully submitted,

                                 /s/ Stanley E. Woodward, Jr.
                           Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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                           Counsel for Defendant/Appellant Dr. Peter K. Navarro




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Fed. R. App. P. 27(d)(2)(A) that the foregoing

motion complies with the type-volume limitation because it contains 197 words

and therefore, not more than 5,200 words. I further certify that this motion,

pursuant to Fed. R. App. P. 27(d)(1)(E) complies with the typeface requirements of

Fed. R. App. P. 32(a)(5) and the typeface style requirements of Fed. R. App. P.

32(a)(6) because the brief was prepared in 14-point Times New Roman font using

Microsoft Word.

                                                             /s/
                                             Stanley Woodward Jr.


                         CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(c), that on July 28, 2023, the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF

system, which will send a notification to the attorneys of record in this matter who

are registered with the Court’s CM/ECF system.

                                                             /s/
                                             Stanley Woodward Jr.




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